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THE HONORABLE JAMES L. ROBART

UNITED STATES DISTRICT COURT .
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
JOHN DOES, et al., . CASE NO. Ci7-0178JLR

Plaintiffs, .
STIPULATED PROTECTIVE ORDER
vi.

DONALD TRUMP, et al.,

Defendants.

 

JEWISH FAMILY SERVICE, ct al.,

Plaintiffs, CASE NO. C17-1707JLR
v.
DONALD TRUMP, et al., {RELATING TO BOTH CASES)
Defendants.

 

 

 

STIPULATED PROTECTIVE ORDER
(No, 17-cv-1707-JLR; No. 17-cv-1707-JLR}

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1, PURPOSES AND LIMITATIONS

By order dated December 20, 2018, this Court ordered Defendants to un-redact or
otherwise produce two categories of information pursuant to an appropriate protective order:
(a) information that would tend to reveal names of countries on a list that would trigger a Security
Advisory Opinion (“SAO”) requirement for refugee applicants from those countries, which shall
be marked “Attorneys’ Eyes Only”; and (b) personally identifying information of individual
refugee applicants. See Order Granting in Part & Denying in Part Plaintiffs’ Motion to Compel,
Dkt. #171, at 23-24, 27, In accordance with that Order, the parties hereby stipulate to and petition
the Court to enter the following Stipulated Protective Order.

The parties acknowledge that this agreement is consistent with LCR 26(c), It does not
confer blanket protection on all disclosures or responses to discovery, the protection it affords from
public disclosure and use extends only to the limited information specified herein, and it does not
presumptively entitle parties to file Confidential information under seal.

2. “CONFIDENTIAL” MATERIAL

“Confidential” material refers to (a) the petsonally identifying information of individual
refugee applicants; and (b) information that would tend to reveal the identification of those
countries on a list that would trigger an SAO requirement for refugee applicants from those
countries.

3. SCOPE

The protections conferred by this agreement cover not only Confidential material (as
defined above), but also (1) any information copied or extracted from Confidential material; (2) all
copies, excerpts, summaries, or compilations of Confidential material; and (3) any testimony,
conversations, or presentations by parties or their counsel that might reveal Confidential material.

However, the protections conferred by this agreement do not cover information that is in

the public domain or becomes part of the public domain through trial or otherwise.

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(No. 17-cv-1707-JLR; No. 17-cv-1707-ILR) — 1

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4. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

4.1 Basic Principles. A receiving party may use Confidential material that is disclosed
or produced by another patty or by a non-party in connection with this case only'for prosecuting,
defending, or attempting to settle this litigation. Confidential material may be disclosed only to the
categories of persons and under the conditions described in this agreement. Confidential material
must be stored and maintained by a receiving party at a location and in a secure manner that ensures
that access is limited to the persons authorized under this agreement.

4.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
by the Court or permitted in writing by the designating party, a receiving party may disclose any
Confidential material only to:

(a) the receiving party’s counsel of record in this action, as well as employees
of counsel to whom it is reasonably necessary to disclose the information for this litigation;

(b) the officers, directors, and employees (including in house counsel) of the
receiving party to whom disclosure is reasonably necessary for this litigation, except for
information that would tend to reveal names of countries on a list that would trigger an SAO
requirement for refugee applicants from those countries, which information is designated as
“Attorney’s Eyes Only”:

(c) experts and consultants to whom disclosure is reasonably necessary for this.
litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

(d} the Court, court personnel, and court reporters and their staff;

(e) copy or imaging services retained by counsel to assist in the duplication of
Confidential material, provided that counsel for the party retaining the copy or imaging service
instructs the service not to disclose any Confidential material to third parties and to immediately

return all originals and copies of ary Confidential material;

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(f) during their depositions, witnesses in the action to whom disclosure is
reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
(Exhibit A), unless otherwise agreed by the designating party or ordered by the Court. Pages of
transcribed deposition testimony or exhibits to depositions that reveal Confidential material must
be separately bound by the court reporter and may not be disclosed to anyone except as permitted
under this agreement; and |

(g) the author or recipient of a document containing the information or a
custodian or other person who otherwise possessed or knew the information.

43° Filing Confidential Material. Before filing Confidential material or discussing or
referencing such material in court filings, the filing party shall confer with the designating party,
in accordance with Local Civil Rule 3(g)(3)(A), to determine whether the designating party will
remove the Confidential designation, whether the document can be redacted, or whether a motion
to seal or stipulation and proposed order is warranted. During the meet and confer process, the
designating party must identify the basis for sealing the specific Confidential information at issue,
and the filing party shall include this basis in its motion to seal, along with any objection to sealing
the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and
the standards that will be applied when a party seeks permission from the Court to file material
under seal. A party who seeks to maintain the confidentiality of its information must satisfy the
requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.
Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with
the strong presumption of public access to the Court’s files.
5, DESIGNATING PROTECTED MATERIAL
5.1 Exercise of Restraint and Care in Designating Material for Protection. Each party
or non-party that designates information or items for protection under this agreement must take

care to limit any such designation to specific material that qualifies under the appropriate

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standards. The designating party must designate for protection only those parts of material,
documents, items, or oral or written communications that qualify, so that other portions of the
material, documents, items, or communications for which protection is not warranted are not swept
unjustifiably within the ambit of this agreement.

Mass, indiscriminate, or routinized designations are prohibited. Designations that are
shown to be clearly unjustified or that have been made for an improper purpose (¢.g., to
unnecessarily encumber or delay the case development process or to impose unnecessary expenses
and burdens on other parties) expose the designating party to sanctions.

If it comes to a designating party’s attention that information or items that it designated for
protection do not qualify for protection, the designating party must promptly notify all other parties
that it is withdrawing the mistaken designation.

5.2 Manner and Timing of Designations. Except as otherwise provided in this
agreement (see, ¢.2., second paragraph of section 5.2(a) below), or as otherwise stipulated or
ordered, disclosure or discovery material that qualifies for protection under this agreement must
be clearly so designated before or when the material is disclosed or produced.

(a) Information in documentary form: (e.g., paper or electronic documents and

deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),

the designating party must affix the word “CONFIDENTIAL” to each page that contains

Confidential material. The designating party must also affix the phrase “ATTORNEYS’ EYES
ONLY” to any page or portion therewith that warrants that protection under this Court’s December
20, 2018 Order.

For documents Defendants produced prior to December 20, 2018 in redacted form
and with redacted portions clearly identified: If, after the re-production of those documents
hereunder, Plaintiffs are unable to determine which part of a page marked “CONFIDENTIAL”

Defendants intend to designate as covered by this order, Plaintiffs shall so notify Defendants.

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Within five (5) business days after that notification, or some other timeframe agreed upon between
the parties, Defendants shall re-produce the page(s) identified by Plaintiffs with the protected
portion(s) clearly identified (e.g., by making appropriate markings in the margins), unless the
parties agree to some other means of identifying the protected material.

For documents produced by Defendants for the first time after December 20, 2018:
If only a portion or portions of the material on a page qualifies for protection under this order,
Defendants must clearly identify the protected portion(s) (e.g., by making appropriate markings in
the margins). .

(b) ‘Testimony given in deposition or in other pretrial proceedings: the parties
and any participating non-parties must identify on the record, during the deposition or other pretrial

proceeding, all protected testimony, without prejudice to their right to so designate other testimony

alter reviewing the transcript. Any party or non-party may, within fifteen days after receiving the

transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or
exhibits thereto, as Confidential. [fa party or non-party desires to protect Confidential information
at trial, the issue should be addressed during the pre-trial conference.

{c) Other tangible items: the producing party must affix in a prominent place
on the exterior of the container or containers in which the information or item is stored the word
“CONFIDENTIAL.” Ef only a portion or portions of the information or item warrant protection,
the producing party, to the extent practicable, shall identify the protected portion(s).

5.3. Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
designate qualified information or items does not, standing alone, waive the designating party’s
right to secure protection under this agreement for such material. Upon timely correction of a
designation, the receiving party must make reasonable efforts to ensure that the material is treated

in accordance with the provisions of this agreement.

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6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

6.1 Timing of Challenges. Any party or non-party may challenge a designation of
confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

- original designation is disclosed.

6.2 Meet and Confer. The parties must make every attempt to resolve any dispute
regarding Confidential designations without court involvement. Any motion regarding
Confidential designations or for a protective order must include a certification, in the motion or in
a declaration or affidavit, that the movant has engaged in a good faith meet and confer conference
with other affected parties in an effort to resolve the dispute without court action, The certification
must list the date, manner, and participants to the conference. A good faith effort to confer requires
a face-to-face meeting or a telephone conference.

6.3. Judicial Intervention. If the parties cannot resolve a challenge without court
intervention, the designating party may file and serve a motion to retain confidentiality under Local
Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
persuasion in any such motion shall be on the designating party. Frivolous challenges, and those
made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
other parties) may expose the challenging party to sanctions. Ail parties shall continue to maintain

the material in question as Confidential until the Court rules on the challenge.

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7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
LITIGATION

If a party is served with a subpoena or a court order issued in other litigation that compels
disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party
must: |

(a) promptly notify the designating party in writing and include a copy of the
subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or order to
issue in the other litigation that some or all of the material covered by the subpoena or order is
subject to this agreement. Such notification shall include a copy of this agreement; and

(c) cooperate with respect to all reasonable procedures sought to be pursued by
the designating party whose Confidential material may be affected.

8. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

If a receiving party learns that, by inadvertence or otherwise, it has disclosed Confidential
material to any person or in any circumstance not authorized under this agreement, the receiving
party must immediately (a) notify in writing the designating party of the unauthorized disclosures
and all steps to remediate that unauthorized disclosure; (b) use its best efforts to retrieve all
unauthorized copies of the protected material, or request that the unauthorized recipient delete
and/or destroy the Confidential material; (c) inform the person or persons to whom unauthorized
disclosures were made of all the terms of this agreement; and (d) request that such person or
persons execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as
Exhibit A.
9, NON-TERMINATION AND RETURN OF DOCUMENTS

Within 60 days after the termination of this action, including all appeals, each receiving

party must return all Confidential material to the producing party, including all copies, extracts

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and summaries thereof. Alternatively, the parties may delete and/or destroy the Confidential
material.

Notwithstanding this provision, counsel are entitled to retain archival copies of all
documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
product, even if such materials contain Confidential material.

The confidentiality obligations imposed by this agreement shall remain in effect until a

designating party agrees otherwise in writing or a court orders otherwise.

IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 

 

 

 

 

 

DATED: 01/30/2019: /s/ Tana Lin
Attorney for Doe Plaintiffs
DATED: 01/30/2019 /s/ Justin B. Cox
Attorney for JFS Plaintiffs
DATED: 01/30/2019 /s/ Joseph C, Dugan
Attorney for Defendants

PURSUANT TO STIPULATION, IT IS SO ORDERED

DATED: “C4. Spawn “2OVG
| a

‘Honorable James L. Robart
United Statés District Court Judge

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EXHIBIT A
ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
L, [print or type full name], of

[print or type full address], declare under penalty of

 

perjury that I have read in its entirety and understand the Stipulated Protective Order that was
issued by the United States District Court for the Western District of Washingtonon___ [date]
in the case of Dee, et al. v. Trump, et al., No, 17-cv-00178 (JLR) and in the case of Jewish Family
Service of Seattle, et al. v. Trump, et al., No. 17-cv-01707 (JLR). I agree to comply with and to be
bound by all the terms of this Stipulated Protective Order and I understand and acknowledge that
failure to so comply could expose me to sanctions and punishment in the nature of contempt. !
solemnly promise that I will not disclose in any manner any information or item that is subject to
this Stipulated: Protective Order to any person or entity except in strict compliance with the
provisions of this Order.

I further agree to submit to the jurisdiction of the United States District Court for the |
Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective

Order, even if such enforcement proceedings occur after termination of this action.

Date:

 

City and State where sworn and signed:

 

Printed name:

 

Signature:

 

4825-6629-9398, v. 4

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